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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA    :
                             :
     v.                      :                      Case No. :21-cr-00552 (DLF)
                             :
 KENNETH JOSEPH OWEN THOMAS, :
                             :
               Defendant.    :

               DEFENDANT’S UNOPPOSED MOTION TO CONTINUE AND
                TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        Defendant hereby moves this Court for a continuance of the above-captioned proceeding,

 and further to exclude the time within which an indictment must be filed under the Speedy Trial

 Act, 18 U.S.C. § 3161 et seq.

Dated: January 30, 2023                                Respectfully submitted,
                                                           /s/ John M. Pierce
                                                           John M. Pierce
                                                           John Pierce Law P.C.
                                                           21550 Oxnard Street
                                                           3rd Floor PMB #172
                                                           Woodland Hills, CA 91367
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                                                           jpierce@johnpiercelaw.com




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                                        CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, January 30, 2023, I caused a copy of the foregoing
document to be served on all counsel through the Court’s CM/ECF case filing system.

/s/ John M. Pierce

John M. Pierce




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